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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTt   SNISIT/BAMA
                          NORTHE    DIVISION
                                    9OCT 2cl P 2: 3I
SYNOVUS BANK,
                                     DrE)RA P. .1:'=,C,IcETT 111%
       Plaintiff,
                                                                .R!/8-cit- 06-a./Kiii
v.                                              CIVIL ACTION NO.der7---

INSTITUTIONAL PHARMACY
SOLUTIONS,LLC; MIMS
PROPERTY MANAGEMENT
GROUP,LLC; MIMS
MANAGEMENT GROUP,LLC;
COTTON & PINE
CREATIVE,LLC; DANIEL R.
MIMS and KRYSTAL L. MIMS,

      Defendants.


                                  COMPLAINT

      COMES NOW Synovus Bank and complains of Institutional Pharmacy

Solutions, LLC, Mims Property Management Group, LLC, Mims Management

Group, LLC, Cotton & Pine Creative, LLC, Daniel R. Mims and Krystal L. Mims

(all collectively, the "Defendants") and says as follows:

                    PARTIES,JURISDICTION AND VENUE

      1.     Synovus Bank ("Synovus") is a Georgia banking corporation that has

its principal place of business in Columbus, Georgia. Synovus is a citizen of the

State of Georgia.


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      2.     Defendant, Institutional Pharmacy Solutions, LLC ("IPS"), is an

Alabama Limited Liability Company with its principal place of business in

Montgomery County, Alabama. Defendant Mims Management Group, LLC owns

100% ofthe membership interest ofIPS,and Daniel Mims and Krystal Mims are the

members of Mims Management Group, LLC. Daniel Mims and Krystal Mims are

citizens ofthe State of Alabama; therefore, IPS is a citizen of the State of Alabama.

      3.    Defendant, Mims Property Management Group,LLC("MPMG"),is an

Alabama Limited Liability Company with its principal place of business in

Montgomery County, Alabama. Mims Management Group,LLC owns 100% ofthe

membership interest of MPMG, and Daniel Mims and Krystal Mims are the

members of Mims Management Group, LLC Mims Management Group, LLC.

Daniel Mims and Krystal Mims are citizens of the State of Alabama; therefore,

MPMG is a citizen of the State of Alabama.

      4.    Defendant, Mims Management Group, LLC("MMG"), is an Alabama

Limited Liability Company with its principal place of business in Montgomery

County, Alabama. Daniel Mims and Krystal Mims are the members of MMG,and

they are citizens ofthe State ofAlabama; therefore, MMG is a citizen ofthe State of

Alabama.

      5.    Defendant, Cotton & Pine Creative, LLC ("CPC"), is an Alabama

Limited Liability Company with its principal place of business in Montgomery


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County, Alabama. Daniel Mims and Krystal Mims are the members of CPC, and

they are citizens of the State of Alabama; therefore, CPC is a citizen of the State of

Alabama.

          6.   Defendant, Daniel R. Mims("Daniel Mims") is an individual over the

age of nineteen (19) years and is a resident of Montgomery County, Alabama. He

is a citizen of the State of Alabama.

          7.   The Defendant,Krystal L. Mims("Klystal Mims")is an individual over

the age of nineteen (19) years and is a resident of Montgomery County, Alabama.

She is a citizen ofthe State of Alabama.

       8.      This is an action over which this Court has original subject matter

jurisdiction pursuant to 28 U.S.C.§ 1332,in that it is a civil action wherein the matter

in controversy exceeds the sum or value of Seventy-Five Thousand Dollars

($75,000.00), exclusive of interest and costs, and is between citizens of different

states.

       9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) and

(2)because the Defendants reside in this judicial district and a substantial part ofthe

events or omissions giving rise to the Plaintiffs claims against the Defendants

occurred in this judicial district.




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                          FACTUAL ALLEGATIONS

                          First Forbearance Agreement

      10.   Each of the Defendants (and non-defendant entity, DKM Properties,

LLC)executed and delivered over to Synovus a Forbearance Agreement and Loan

Modification Agreement(the "First Forbearance Agreement") in favor of Synovus

with an effective date of September 11, 2016. A true and correct copy of the First

Forbearance Agreement is attached hereto as Exhibit "A."

      11.   Pursuant to Paragraphs F.1. through F.4., on Pages 2-4 of the First

Forbearance Agreement, the Defendants acknowledged that they were respectively

obligated for i) the repayment of a loan from the Plaintiff to IPS (the "IPS Loan"),

ii)the repayment ofloans from Synovus to MPMG(the"MPMG Loan"); and iii) the

repayment of a loan from the Plaintiff to CPC (the "CPC Loan )Daniel Mims and

Krystal Mims each also acknowledged that they are the principal borrowers and

directly obligated to the Plaintiff under a restructured loan (the "Intelligenetics

Loan") that the Plaintiff originally made to Intelligenetics, LLC, a South Carolina

Limited Liability Company formerly owned and/or controlled by Daniel Mims and

Krystal Mims(collectively, the Intelligenetics Loan along with the MPMG Loan,the




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    IPS Loan,and CPC Loan are referred to herein as the "Loans"                             Further,the exiting

    guaranty agreements were recited therein as to each loan.

             12.     Pursuant to Paragraphs A.1. through A.7., on Pages 6-7, of the First

    Forbearance Agreement, the Defendants acknowledged, among other things, that

    each ofthe therein listed Loans was in default; that each ofthe Defendants are liable

    to the Plaintiff for the amount due under each of the Loans, either as a direct

    borrower or as guarantor; that the Defendants did not have any claims or

    counterclaims against Synovus with regard to the Loans; that Synovus had no

    obligation to make additional loans or extensions of credit to the Defendants, that

    the liens of Synovus in its collateral remain in full force and effect, and that the

    Defendants are fully liable for the reasonable attorney's fees incurred by Synovus to

    collect payment ofthe Loans.

             13.     Pursuant to Paragraph D.1., on Page 8-9, of the First Forbearance

    Agreement, entitled "Forbearance Period," the maturity date of each the Loans was

-   by agreement extended to January 11, 2017.




    1 True and correct copies ofthe MPMG Loan,the IPS Loan, the CPC Loan,the Intelligenetics Loan (atict their related
    security agreements) are attached heretO as. Eithibits "B-1" thrOggh "11-4," respectively.


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                                   Cross-Default

       14.   Further, pursuant to Paragraph E, on Page 9, of the First Forbearance

Agreement each of the Defendants herein agree to a Cross-Default provision,

applicable to all the Loans, which provides:

      Cross-Default. To induce the Bank to enter into this Forbearance Agreement,
      the Borrowers covenant and agree that, whether or not heretofore in
      existence, (i) each ofthe Obligations shall be cross-defaulting with each of
      the other Obligations, such that any and all defaults or events ofdefault, no
      matter how or where defined, monetary or non-monetary, ofor by any one of
      the Entity Borrowers, shall constitute a default and/or an Event ofDefault, as
      the case may be, under all other such Obligations, and (ii) to the extent that
      any of the Existing Security Documents do not provide specifically that a
      default or Event of Defaultfor one such loan covenants shall constitute a
      default and/or an Event ofDefault, as the case may be, under all other such
      Obligations, then such Existing Security Documents are hereby amended to
      so provide.
                                 Cross-Guaranty

      15.    Additionally, pursuant to Paragraph G, on Page 12, of the First

Forbearance Agreement each of the Defendants herein agreed to and did

unconditionally guaranty full repayment ofany and all ofthe Loans, and did further

pledge and grant to Synovus a security interest in all of their property, whether

tangible or intangible, real or personal;".

                              Cross-Collateralization

      16.    Further, pursuant to Paragraph F, on Page 9, of the First Forbearance

Agreement each of the Defendants herein agree to a Cross-Collateralization

provision, applicable to all the Loans, which provides:


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          Cross-Collateralization. Further, to induce the Bank to enter into this
          Forbearance Agreement, the Borrowers covenant and agree that, whether
          or not heretofore in existence or heretofore cross-pledged, (i) each of the
          Obligations shall be cross-collateralized with each ofthe other Obligations,
          such that any and all security and collateral, existing or pledged herein,for
          any ofthe Obligations, no matter how or where defined, granted, pledged or
          located, by any one or more ofthe Entity Borrowers or the Accommodator,
          shall secure the payment of and constitute collateral for ALL other
          Obligations, and (ii) to the extent that any of the MPMG Loan Security
          Documents or the IPS Loan Security Documents, Mims Intelligentics Loan
          Security Documents , CPC Loan Security Documents, or Mims Home Loan
          Security Documents (collectively, the 'Existing Security Documents')do not
          provide specifically that such Existing Security Documents secures the
          payment of all of the Obligations, such Existing Security Documents are
          hereby amended to so provide.

                              First Amended Forbearance Agreement

         17.      Subsequently, the Defendants defaulted on one of more of the Loans,

whereupon, after good faith and arms-length negotiations, each of the Defendants

executed and delivered to Synovus the First Amended Forbearance Agreement and

Loan Modification Agreement (the "First Amended Forbearance Agreement") as

dated March 20, 2017. A true and correct copy of the First Amended Forbearance

Agreement is attached hereto as Exhibits C-1 and C-2."2

         18.     Pursuant to Paragraphs C through I, on Pages 2-4, of the First

Forbearance Agreement,each ofthe Defendants acknowledged,among other things,




2 The Defendants delivered two(2)separate copies ofthe First Amended Forbearance     Agreethent to the Plaintiff. The
first copy is dated March 20, 2017 and was delivered to the Plaintiffon or around that date but it was missing notary
acknowledgements for the signatures of Krystal Mims and DKM Properties, LLC. The second copy is undated but
was delivered to the Plaintiff on or around March 28, 2017. It contains signatures and notary acknowledgements for
all ofthe parties to the agreement.

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that the IPS Loan, the MPMG Loan, the Intelligenetics Loan, and the CPC Loan

were i.n default; that each of the Defendants are liable to Synovus for the respective

amounts due under each/all ofthe Loans; that the Defendants did not have any claims

or counterclaims against Synovus with regard to the Loans; that Synovus had no

obligation to make additional loans or extensions of credit to the Defendants; and

that the Defendants are fully liable for the reasonable attorney'sfees incurred by the

Plaintiff to collect payment on the Loans.

      19.    Pursuant to Paragraph B on Page 2 of the First Amended Forbearance

Agreement,entitled "Forbearance Period" the maturity date ofthe Loans was further

extended from January 11, 2017 to March 24, 2017.

                    Second Amended Forbearance Agreement

      20.    Subsequently, the Defendants again defaulted on one of more of the

Loans, whereupon, after further good faith and arms-length negotiations, the

Defendants executed and delivered over to Synovus the Second Amended

Forbearance Agreement and Loan Modification Agreement (the "Second

Forbearance Agreement") in favor of Synovus as made effective as of March 24,

2017. A true and correct copy of the Second Forbearance Agreement is attached

hereto as Exhibit "D."

      21.   Pursuant to Paragraphs C through H, on Pages 3-4, of the Second

Forbearance Agreement, the Defendants once again acknowledged, among other


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things, that each of the Loans was then in default; that the Defendants are liable to

Synovus for the amounts then due under each of the Loans; that the Defendants did

not have any claims or counterclaims against Synovus with regard to the Loans;that

Synovus had no obligation to make additional loans or extensions of credit to the

Defendants; and that the Defendants are fully liable for the reasonable attorneys fees

incurred by the Plaintiff to collect payment on the Loans.

      22.   Pursuant to Paragraph B on Page 2 of the Second Forbearance

Agreement,entitled "Forbearance Period," the maturity date ofthe Loans was further

extended from March 24, 2017 to July 11, 2017.

                      Third Amended Forbearance Agreement

      23.    Subsequently, the Defendants again defaulted on one of more of the

Loans, whereupon, and again after further good faith and arms-length negotiations,

the Defendants executed and delivered over to Synovus the Third Amended

Forbearance Agreement and Loan Modification Agreement(the "Third Forbearance

Agreement") as was made effective as of July 11, 2017. A true and correct copy of

the Third Forbearance Agreement is attached hereto as Exhibit "E."

      24.   Pursuant to Paragraphs C through H, on Pages 3-4, of the Third

Forbearance Agreement, the Defendants acknowledged, among other things, that

each of the Loans was once again in default; that each of the Defendants are liable

to Synovus for the amount due under each/all ofthe Loans; that the Defendants did


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not have any claims or counterclaims against Synovus with regard to the Loans; that

Synovus had no obligation to make additional loans or extensions of credit to the

Defendants; and that the Defendants are liable for the reasonable attorney's fees

incurred by the Plaintiff to collect payment on the Loans.

      25.    Pursuant to Paragraph B, on Page 3, of the Third Forbearance

Agreement, entitled "Forbearance Period," the maturity date of the Loans was once

again extended from July 11, 2017 to September 11, 2017.

                     Fourth Amended Forbearance Agreement

      26.    Subsequently, the Defendants once again defaulted on one of more of

the Loans, whereupon, and again after further good faith and arms-length

negotiations, the Defendants executed and delivered over to Synovus the Fourth

Amended Forbearance Agreement and Loan Modification Agreement (the "Fourth

Forbearance Agreement") in favor of Synovus and made effective as of September

11, 2017. A true and correct copy of the Fourth Forbearance Agreement is attached

hereto as Exhibit "F."

      27.   Pursuant to Paragraphs C through H on Pages 3-4 of the Fourth

Forbearance Agreement, the Defendants once again acknowledged, among other

things, that each of the Loans was again in default; that each of the Defendants are

liable to Synovus for the amount due under each/all ofthe Loans;that the Defendants

do not have any claims or counterclaims against Synovus with regard to the Loans;


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that Synovus had no obligation to make additional loans or extensions of credit to

the Defendants; and that the Defendants are liable for the reasonable attorneys fees

incurred by the Plaintiff to collect payment on the Loans.

      28.   Pursuant to Paragraph B on Page 3 of the Fourth Forbearance

Agreement,entitled "Forbearance Period," the maturity date ofthe Loans was finally

extended from September 11, 2017 to October 11, 2018.

      29.   Each of the First Forbearance Agreement, the First Amended

Forbearance Agreement, the Second Amended Forbearance Agreement, the Third

Amended Forbearance Agreement, and the Fourth Amended Forbearance

Agreement(collectively, the "Forbearance Agreements")did not disturb or mitigate,

and indeed maintained and perpetuated the Cross-Default provision of the First

Forbearance Agreement, the Cross-Collateralization provision of the First

Forbearance Agreement, and maintained or expanded the previously security

agreements granted under the Loans or under the First Forbearance Agreement, and

perpetuated the Cross-Guaranty Agreements as well.

                     Default Under Forbearance Agreements

      30.   The Defendants are in default under the Forbearance Agreements as

well as the underlying Loans, and related loan documents described in the

Forbearance Agreements because the Defendants havefailed to pay the Loans infull

upon maturity, and for wholly failing to meet their covenants and obligations to


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Synovus per the terms of the Fourth Amended Forbearance Agreement, and

otherwise.

      31.    As of October 29, 2018, the Defendants are each jointly obligated to

the Plaintiff under the IPS Loan in an amount not less than $2,185,493.55,for which

prior written demand for payment has been made by Synovus. As of October 12,

2018, the Defendants are each jointly obligated to the Plaintiff under the MPMG

Loan in an amount not less than $1,632,164.33; under the CPC Loan in an amount

not less than $244,676.09; and under the Intelligenetics Loan in an amount not less

than $444,436.27, for which prior written demand for payment has been made by

Synovus. The Defendants are further obligated to the Plaintiff for per diem interest

going forward on all Loans, reasonable attorney's fees, and court costs with regard

to each ofthe Loans.

                     Collection Activity Subsequent to Default

      32.    Subsequent to the October 11, 2018 maturity of the Loans, and due to

the default(s), Synovus on or about October 19, 2018 lawfully exercised its rights of

set-off and did thereby set-off the approximate collective sum of $720,429.69 from

three commercial deposit accounts of IPS, namely account numbers xxxxxx1672,

xxxxxx2688, and xxxxxx2910.




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      33.    Then, on or about October 18, 2018, Synovus again exercised its rights

ofset-offand did thereby set-offthe approximate sum of$1,236.97 from IPS deposit

account number xxxxxx2910.

      34.    Then, on or about October 19, 2018, Synovus again exercised its rights

of set-off and did thereby set-off the approximate sum of $29,172.50 from IPS

deposit account number xxxxxx2910.

      35.    All such funds, once set-off was fully effectuated, were applied by

Synovus to the indebtedness owed to Synovus under the IPS Loan, and thereby

reduced the amount of the indebtedness due Synovus thereunder.

      36.    Then, on or about October 22, 2018 Synovus did my mail deliver

correspondence to approximately twenty two known customers of IPS, each of

whom is or has been a customer and resulting account debtor ofIPS. The purpose of

such letters was to intercept and have paid over to Synovus the accounts receivable

owed to IPS by such customers ofIPS, which accounts receivable constitute part of

Synovus' collateral for the IPS Loan, as has been stipulated and agreed by IPS in the

Forbearance Agreements and related loan documents.




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                                    COUNT I

          BREACH OF CONTRACT AGAINST ALL DEFENDANTS
                WITH REGARD TO THE MPMG LOAN
                    (LOAN NO.XXXXXXX1992)

      37.   Synovus re-alleges and re-avers the allegations above as iffully set out

herein.

      WHEREFORE, the Synovus demands judgment against each of the

Defendants,jointly and severally, for money damages in the amount of not less than

$1,632,164.33, plus per diem interest, reasonable attomey's fees, and court costs,

with respect to the MPMG Loan.

                                   COUNT II

          BREACH OF CONTRACT AGAINST ALL DEFENDANT
                 WITH REGARD TO THE IPS LOAN
                    (LOAN NO.,XXXXXXX1968)

      38.   Synovus re-alleges and re-avers the allegations above as iffully set out

herein.

      WHEREFORE,Synovus demands judgment against each of the Defendants,

jointly and severally, for money damages in the amount of not less than

$2,185,493.55, plus per diem interest, reasonable attomey's fees, and court costs,

with respect to the IPS Loan.




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                                     COUNT III

          BREACH OF CONTRACT AGAINST ALL DEFENDANTS
                 WITH REGARD TO THE CPC LOAN
                    (LOAN NO. XXXXXXX1910)

      39.    Synovus re-alleges and re-avers the allegations above as if fiilly set out

herein.

       WHEREFORE, Synovus demands judgment against each of the Defendants,

jointly and severally, for money damages in the amount of not less than $244 676.09,

plus per diem interest, reasonable attorney's fees, and court costs, with respect to the

CPC Loan.

                                     COUNT IV

          BREACH OF CONTRACT AGAINST ALL DEFENDANTS
           WITH REGARD TO THE INTELLIGENETICS LOAN
                    (LOAN NO.XXXXXXX2162)

      40.    Synovus re-alleges and re-avers the allegations above as if fully set out

herein.

      WHEREFORE, Synovus Bank demands judgment against each of the

Defendants,jointly and severally, for money damages in the amount of not less than

$444,436.27, plus per diern interest, reasonable attorney's fees, and court costs.




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                                     COUNT V

          BREACH OF GUARANTY AGAINST ALL DEFENDANTS
               WITH REGARD TO ALL OF THE LOANS


      41.    Synovus re-alleges and re-avers the allegations above as if fully set out

herein.

       WHEREFORE, Synovus Bank demands judgment against each of the

Defendants,jointly and severally, for money damages in the amounts not less than

the total ofthe sums due to Synovus under each ofthe Loans, plus per diem interest,

reasonable attorney's fees, and court costs, per the various guaranty agreements

executed in favor of Synovus.

                                     COUNT VI

     DECLARATORY JUDGMENT UNDER THE DECLARATORY
    JUDGMENT ACT(28 U.S.C. SECTIONS 2201-2202) AGAINST ALL
         DEFENDANTS WITH REGARD TO THE LOANS

      42.    Synovus re-alleges and re-avers the allegations above as if fully set out

herein.

      WHEREFORE, Synovus Bank demands judgment against each of the

Defendants declaring i) that each ofthe Defendants defaulted on each ofthe Loans,

and ii) defaulted on the Fourth Amended Forbearance Agreement, iii) that Synovus

holds a security interest in certain collateral, iv)that Synovus lawfully exercised its

rights of set-off against the collateral pledged as security for the Loans, and v)that


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the actions of Synovus were lawful in notifying IPS's account debtors to remit

accounts receivable ofIPS to Synovus.

      Further, Synovus reserves all of its rights and claims as regards other

indebtedness of the Defendants to Synovus

                                    Respectfully submitted:



                                    Daniel D. Sparks(ASB-8526-S79D)
                                    Bradley R. Hightower(ASB-8981-B57H)
                                    Attorneys for Synovus Bank




OF COUNSEL
Christian & Small, LLP
1800 Financial Center
505 20th Street North  -
Birmingham, Alabama 35203
Email: dds@csattorneys.corn
Email: brh@csattorneys.com
Phone:(205) 795-6588
Fax:(205)328-7234




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Please serve the Defendants bv Private Process Server at the following
addresses:

Institutional Pharmacy Solutions, LLC
c/o Jason P. McCartha, Registered Agent
100 Jefferson Street South
Suite 200
Huntsville, Alabama 35801

Mims Property Management Group,LLC
c/o Jason P. McCartha, Registered Agent
100 Jefferson Street South
Suite 200
Huntsville, Alabama 35801

Mims Management Group,LLC
c/o Jason P. McCartha, Registered Agent
100 Jefferson Street South
Suite 200
Huntsville, Alabama 35801

Cotton & Pine Creative, LLC
c/o Jason P. McCartha, Registered Agent
100 Jefferson Street South
Suite 200
Huntsville, Alabama 35801

Daniel R. Mims
2531 Pike Road
Pike Road, Alabama 36064

Krystal L. Mims
2531 Pike Road
Pike Road, Alabama 36064




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